                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

 UNITED STATES OF AMERICA,

                               Plaintiff,

        v.                                           Case No. 17-00330-01-CR-W-SRB

 PRESTON L. GILLAM,

                               Defendant.

                                     PLEA AGREEMENT

       Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure, the parties

described below have entered into the following plea agreement:

       1.    The Parties.   The parties to this agreement are the United States Attorney’s Office

for the Western District of Missouri (otherwise referred to as “the Government” or “the

United States”), represented by Timothy A. Garrison, United States Attorney, and Jeffrey Q.

McCarther, Assistant United States Attorney, and the defendant, Preston L. Gillam (“the

defendant”), represented by Terry J. Flanagan.

       The defendant understands and agrees that this plea agreement is only between him and

the United States Attorney for the Western District of Missouri, and that it does not bind any other

federal, state, or local prosecution authority or any other government agency, unless otherwise

specified in this agreement.

       2.    Defendant’s Guilty Plea.       The defendant agrees to and hereby does plead guilty to

Count One of the Indictment charging him with a violation of 21 U.S.C. §§ 841(a)(1) and

(b)(1)(A), that is, Possession with Intent to Distribute Methamphetamine.     By entering into this
plea agreement, the defendant admits that he knowingly committed this offense, and is in fact

guilty of it.

        3.      Factual Basis for Guilty Plea.   The parties agree that the facts constituting the

offenses to which he is pleading guilty are as follows:

                On October 1, 2017, Jackson County Sheriff’s Department Deputy S. Bloss
        conducted a traffic stop of a Gray, Dodge Ram Pickup Truck, Missouri license
        2HY-078, at eastbound Interstate 70 and Lee’s Summit Road, Independence,
        Jackson County, Western District of Missouri. The reason for the stop was for
        careless driving and suspicion of impaired driving. Deputy Bloss had observed
        the vehicle decrease its speed from 65 miles per hour to approximately 50 miles per
        hour and observed the vehicle cross into another lane on three occasions.

                Deputy Bloss contacted the driver and sole occupant, Gillam, Preston L.
        (DOB: 08/21/1975), and observed a large sum of U.S. currency in his left hand.
        Deputy Bloss observed Gillam’s eyes to be red and glossy and Gillam appeared
        lethargic and dazed. Gillam slowly looked for his wallet inside the vehicle and
        ultimately discovered it in his left front pants pocket. Deputy Bloss observed a
        blue bank deposit bag between the center console and Gillam and observed a green
        hard case that resembled a gun box on the passenger floorboard. Deputy Bloss,
        with assisting Deputy Cole, asked Gillam to exit the vehicle. Deputy Bloss
        requested a police K-9 respond to the scene.

                While the K-9 was on its way, Gillam was detained for investigation for
        driving while impaired. During that investigation, the deputies determined that
        Gillam was impaired and would not be allowed to continue driving. Soon after,
        Jackson County Sheriff’s Department K-9 Deputy Eli Postlethwait and his K-9
        partner, Diogi, arrived at the scene and conducted a K-9 sniff of the vehicle. The
        K-9 alerted to the driver’s door of the vehicle.

               Deputies Bloss and Cole conducted a search of the vehicle. During the
        course of their search, deputies located two clear vacuum sealed bags containing
        methamphetamine under the driver’s seat of the vehicle and a substantial amount
        of U.S. currency inside a blue bank deposit bag on the driver’s seat. Gillam was
        placed under arrest and transported to Jackson County Detention Center.
        Discovered in Gillam’s pockets were $3674.00 in U.S. currency and one Apple I-
        phone. Both items were recovered by Deputy Bloss. Deputy Bloss and Deputy
        Cole searched the vehicle and recovered, amongst other things, two bags containing
        approximately 893 grams (lab weight) of methamphetamine under the driver’s seat.

               For purposes of this agreement, Gillam admits to having possessed the 893
        grams of methamphetamine with intent to distribute some or all of that amount.



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       4.   Use of Factual Admissions and Relevant Conduct.          The defendant acknowledges,

understands and agrees that the admissions contained in Paragraph 3 and other portions of this plea

agreement will be used for the purpose of determining his guilt and advisory sentencing range

under the United States Sentencing Guidelines (“U.S.S.G.”), including the calculation of the

defendant’s offense level in accordance with U.S.S.G. § 1B1.3(a)(2).                  The defendant

acknowledges, understands and agrees that the conduct charged in any dismissed counts of the

Indictment as well as all other uncharged related criminal activity may be considered as “relevant

conduct” pursuant to U.S.S.G. § 1B1.3(a)(2) in calculating the offense level for the charges to

which he is pleading guilty.

       5.   Statutory Penalties.    The defendant understands that upon his plea of guilty to Count

One of the Indictment charging him with Possession with Intent to Distribute Methamphetamine,

in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A), the minimum sentence the Court may impose

is ten (10) years imprisonment and not less than five (5) years supervised release.   The maximum

penalty the Court may impose is not more than life imprisonment, a $10,000,000 fine, and life of

supervised release.   The defendant further understands that this is a Class A felony.

       Furthermore, the count listed above requires a $100 mandatory special assessment.

       6.   Sentencing Procedures.      The defendant acknowledges, understands and agrees to

the following:

              a. in determining the appropriate sentence, the Court will consult and
       consider the United States Sentencing Guidelines promulgated by the United States
       Sentencing Commission; these Guidelines, however, are advisory in nature, and the
       Court may impose a sentence less than or greater than the defendant’s applicable
       Guidelines range, unless the sentence is “unreasonable”;

              b. the Court will determine the defendant’s applicable Sentencing
       Guidelines range at the time of sentencing;




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              c. in addition to a sentence of imprisonment, the Court may impose, a term
       of supervised release of not less than five (5) years; the Court must impose a period
       of supervised release if a sentence of imprisonment of more than a year is imposed;

               d. if the defendant violates a condition of his supervised release, the Court
       may revoke his supervised release and impose an additional period of
       imprisonment of up to five (5) years without credit for time previously spent on
       supervised release. In addition to a new term of imprisonment, the Court also may
       impose a new period of supervised release, the length of which cannot exceed life,
       less the term of imprisonment imposed upon revocation of the defendant’s first
       supervised release;

              e. the Court may impose any sentence authorized by law, including a
       sentence that is outside of, or departs from, the applicable Guidelines range;

               f.   any sentence of imprisonment imposed will not allow for parole;

              g. the Court is not bound by any recommendation regarding the sentence
       to be imposed or by any calculation or estimation of the Sentencing Guidelines
       range offered by the parties or the United States Probation Office; and

               h. the defendant may not withdraw his guilty plea solely because of the
       nature or length of the sentence imposed by the Court.

       7.   Government’s Agreements.         Based upon evidence in its possession at this time, the

United States Attorney=s Office for the Western District of Missouri, as part of this plea agreement,

agrees not to bring any additional charges against defendant for any federal criminal offenses

related to the crimes described above for which it has venue and which arose out of the defendant’s

conduct described above.

       The defendant understands that this plea agreement does not foreclose any prosecution for

an act of murder or attempted murder, an act or attempted act of physical or sexual violence against

the person of another, or a conspiracy to commit any such acts of violence or any criminal activity

of which the United States Attorney has no knowledge.




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       The defendant recognizes that the United States’ agreement to forego prosecution of all of

the criminal offenses with which the defendant might be charged is based solely on the promises

made by the defendant in this agreement.       If the defendant breaches this plea agreement, the

United States retains the right to proceed with the original charges and any other criminal

violations established by the evidence.   The defendant expressly waives his right to challenge the

initiation of the dismissed or additional charges against him if he breaches this agreement. The

defendant expressly waives his right to assert a statute of limitations defense if the dismissed or

additional charges are initiated against him following breach of this agreement.      The defendant

further understands that if the Government elects to file additional charges against him following

breach of this agreement, he will not be allowed to withdraw his plea.

       8.   Preparation of Presentence Report.        The defendant understands the United States

will provide to the Court and the United States Probation Office a government version of the

offense conduct.    This may include information concerning the background, character, and

conduct of the defendant, including the entirety of his criminal activities.         The defendant

understands these disclosures are not limited to the counts to which he has pleaded guilty.     The

United States may respond to comments made or positions taken by the defendant or the

defendant’s counsel and to correct any misstatements or inaccuracies.      The United States further

reserves its right to make any recommendations it deems appropriate regarding the disposition of

this case, subject only to any limitations set forth in this plea agreement.   The United States and

the defendant expressly reserve the right to speak to the Court at the time of sentencing pursuant

to Rule 32(i)(4) of the Federal Rules of Criminal Procedure.

       9.   Withdrawal of Plea.       Either party reserves the right to withdraw from this plea

agreement for any or no reason at any time prior to the entry of the defendant’s plea of guilty and



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its formal acceptance by the Court.    In the event of such withdrawal, the parties will be restored

to their pre-plea agreement positions to the fullest extent possible.    However, after the plea has

been formally accepted by the Court, the defendant may withdraw his plea of guilty only if the

Court rejects the plea agreement or if the defendant can show a fair and just reason for requesting

the withdrawal.     The defendant understands that if the Court accepts his plea of guilty and this

plea agreement but subsequently imposes a sentence that is outside the defendant’s applicable

Sentencing Guidelines range, or imposes a sentence that the defendant does not expect, like or

agree with, he will not be permitted to withdraw his plea of guilty.

       10.    Agreed Guidelines Applications.            With respect to the application of the

Sentencing Guidelines to this case, the parties stipulate and agree as follows:

               a. The Sentencing Guidelines do not bind the Court and are advisory in
       nature. The Court may impose a sentence that is either above or below the
       applicable Guidelines range, provided the sentence is not “unreasonable”;

              b.    The applicable Guidelines section for Count One is U.S.S.G.
       § 2D1.1(c)(5), which provides for an offense level of 30;

                c. The defendant has admitted his guilt and clearly accepted responsibility
       for his actions, and has assisted authorities in the investigation or prosecution of his
       own misconduct by timely notifying authorities of his intention to enter a plea of
       guilty, thereby permitting the Government to avoid preparing for trial and
       permitting the Government and the Court to allocate their resources efficiently.
       Therefore, he is entitled to a three-level reduction pursuant to §§ 3E1.1(a) and (b)
       of the Guidelines. The Government, at sentencing, will file a written motion with
       the Court to that effect, unless the defendant (1) fails to abide by all of the terms
       and conditions of this plea agreement and his pretrial release; or (2) attempts to
       withdraw his guilty plea, violates the law, or otherwise engages in conduct
       inconsistent with his acceptance of responsibility;

               d. There is no agreement between the parties regarding the defendant’s
       criminal history category. The parties agree that the Court will determine his
       applicable criminal history category after receipt of the presentence investigation
       report prepared by the United States Probation Office;




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               e. The defendant understands that the estimate of the parties with respect
       to the Guidelines computation set forth in the subsections of this paragraph does
       not bind the Court or the United States Probation Office with respect to the
       appropriate Guidelines levels. Additionally, the failure of the Court to accept
       these stipulations will not, as outlined in Paragraph 9 of this plea agreement,
       provide the defendant with a basis to withdraw his plea of guilty;

               f. The defendant consents to judicial fact-finding by a preponderance of
       the evidence for all issues pertaining to the determination of the defendant’s
       sentence, including the determination of any mandatory minimum sentence
       (including the facts that support any specific offense characteristic or other
       enhancement or adjustment), and any legally authorized increase above the normal
       statutory maximum. The defendant waives any right to a jury determination
       beyond a reasonable doubt of all facts used to determine and enhance the sentence
       imposed, and waives any right to have those facts alleged in the Indictment. The
       defendant also agrees that the Court, in finding the facts relevant to the imposition
       of sentence, may consider any reliable information, including hearsay; and

              g. The defendant understands and agrees that the factual admissions
       contained in Paragraph 3 of this plea agreement, and any admissions that he will
       make during his plea colloquy, support the imposition of the agreed-upon
       Guidelines calculations contained in this agreement.

       11.     Effect of Non-Agreement on Guidelines Applications.         The parties understand,

acknowledge and agree that there are no agreements between the parties with respect to any

Sentencing Guidelines issues other than those specifically listed in Paragraph 10, and its

subsections.    As to any other Guidelines issues, the parties are free to advocate their respective

positions at the sentencing hearing.

       12.     Change in Guidelines Prior to Sentencing.         The defendant agrees that if any

applicable provision of the Guidelines changes after the execution of this plea agreement, then any

request by defendant to be sentenced pursuant to the new Guidelines will make this plea agreement

voidable by the United States at its option.    If the Government exercises its option to void the

plea agreement, the United States may charge, reinstate, or otherwise pursue any and all criminal

charges that could have been brought but for this plea agreement.




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        13.   Government=s Reservation of Rights.            The defendant understands that the United

States expressly reserves the right in this case to:

               a. oppose or take issue with any position advanced by defendant at the
        sentencing hearing which might be inconsistent with provisions of this agreement;

                  b.   comment on the evidence supporting the charges in the Indictment;

               c. oppose any arguments and requests for relief the defendant might
        advance on an appeal from the sentences imposed and that the United States
        remains free on appeal or collateral proceedings to defend the legality and propriety
        of the sentence actually imposed, even if the Court chooses not to follow any
        recommendation made by the United States; and

                  d.   oppose any post-conviction motions for reduction of sentence, or other
        relief.

        14.       Waiver of Constitutional Rights.              The defendant, by pleading guilty,

acknowledges he has been advised of, understands, and knowingly and voluntarily waives the

following rights:

                  a.   the right to plead not guilty and to persist in a plea of not guilty;

              b. the right to be presumed innocent until his guilt has been established
        beyond a reasonable doubt at trial;

                c. the right to a jury trial, and at that trial, the right to the effective
        assistance of counsel;

                d. the right to confront and cross-examine the witnesses who testify
        against him;

                  e.   the right to compel or subpoena witnesses to appear on his behalf; and

               f. the right to remain silent at trial, in which case his silence may not be
        used against him.

        The defendant understands that by pleading guilty, he waives or gives up those rights and

that there will be no trial.    The defendant further understands that if he pleads guilty, the Court

may ask him questions about the offense or offenses to which he pleaded guilty, and if the



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defendant answers those questions under oath and in the presence of counsel, his answers may

later be used against him in a prosecution for perjury or making a false statement.   The defendant

also understands he has pleaded guilty to a felony offense and, as a result, will lose his right to

possess a firearm or ammunition and might be deprived of other rights, such as the right to vote or

register to vote, hold public office, or serve on a jury.

        15.   Waiver of Appellate and Post-Conviction Rights.

                a. The defendant acknowledges, understands and agrees that by pleading
        guilty pursuant to this agreement he waives his right to appeal or collaterally attack
        a finding of guilt following acceptance of this plea agreement, except on grounds
        of (1) ineffective assistance of counsel; or (2) prosecutorial misconduct.

                b. The defendant expressly waives his right to appeal his sentence,
        directly or collaterally, on any ground except claims of (1) ineffective assistance of
        counsel; (2) prosecutorial misconduct; or (3) an illegal sentence. An “illegal
        sentence” includes a sentence imposed in excess of the statutory maximum, but
        does not include less serious sentencing errors, such as a misapplication of the
        Sentencing Guidelines, an abuse of discretion, or the imposition of an unreasonable
        sentence. However, if the United States exercises its right to appeal the sentence
        imposed as authorized by 18 U.S.C. § 3742(b), the defendant is released from this
        waiver and may, as part of the Government=s appeal, cross-appeal his sentence as
        authorized by 18 U.S.C. § 3742(a) with respect to any issues that have not been
        stipulated to or agreed upon in this agreement.

        16.   Financial Obligations.        By entering into this plea agreement, the defendant
represents that he understands and agrees to the following financial obligations:
                 a. The Court may order restitution to the victims of the offenses to which
        the defendant is pleading guilty. The defendant agrees that the Court may order
        restitution in connection with the conduct charged in any counts of the Indictment
        which are to be dismissed and all other uncharged related criminal activity.

               b. The United States may use the Federal Debt Collection Procedures Act
        and any other remedies provided by law to enforce any restitution order that may
        be entered as part of the sentence in this case and to collect any fine.

                c. The defendant will fully and truthfully disclose all assets and property
        in which he has any interest, or over which the defendant exercises control directly
        or indirectly, including assets and property held by a spouse or other third party.
        The defendant’s disclosure obligations are ongoing, and are in force from the
        execution of this agreement until the defendant has satisfied the restitution order.

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               d. Within 10 days of the execution of this plea agreement, at the request of
       the USAO, the defendant agrees to execute and submit (1) a Tax Information
       Authorization form; (2) an Authorization to Release Information; (3) a completed
       financial disclosure statement; and (4) copies of financial information that the
       defendant submits to U.S. Probation. The defendant understands that compliance
       with these requests will be taken into account when the United States makes a
       recommendation regarding the defendant's acceptance of responsibility.

               e. At the request of the USAO, the defendant agrees to undergo any
       polygraph examination the United States might choose to administer concerning
       the identification and recovery of substitute assets and restitution.

               f. The defendant hereby authorizes the USAO to obtain a credit report
       pertaining to him to assist the USAO in evaluating the defendant’s ability to satisfy
       any financial obligations imposed as part of the sentence.

               g. The defendant understands that a Special Assessment will be imposed
       as part of the sentence in this case. The defendant promises to pay the Special
       Assessment of $100 by submitting a satisfactory form of payment to the Clerk of
       the Court prior to appearing for the sentencing proceeding in this case. The
       defendant agrees to provide the Clerk’s receipt as evidence of his fulfillment of this
       obligation at the time of sentencing.

               h. The defendant certifies that he has made no transfer of assets or property
       for the purpose of (1) evading financial obligations created by this Agreement; (2)
       evading obligations that may be imposed by the Court; nor (3) hindering efforts of
       the USAO to enforce such financial obligations. Moreover, the defendant
       promises that he will make no such transfers in the future.

                i. In the event the United States learns of any misrepresentation in the
       financial disclosure statement, or of any asset in which the defendant had an interest
       at the time of this plea agreement that is not disclosed in the financial disclosure
       statement, and in the event such misrepresentation or nondisclosure changes the
       estimated net worth of the defendant by ten thousand dollars ($10,000) or more, the
       United States may at its option: (1) choose to be relieved of its obligations under
       this plea agreement; or (2) let the plea agreement stand, collect the full forfeiture,
       restitution, and fines imposed by any criminal or civil judgment, and also collect
       100% (one hundred percent) of the value of any previously undisclosed assets.
       The defendant agrees not to contest any collection of such assets. In the event the
       United States opts to be relieved of its obligations under this agreement, the
       previously entered pleas shall remain in effect and cannot be withdrawn.

       17.   Waiver of FOIA Request.        The defendant waives all of his rights, whether asserted

directly or by a representative, to request or receive, or to authorize any third party to request or

receive, from any department or agency of the United States any records pertaining to the

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prosecution of this case including, without limitation, any records that may be sought under the

Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C. § 552a.

       18.   Waiver of Claim for Attorney’s Fees.          The defendant waives all of his claims

under the Hyde Amendment, 18 U.S.C. § 3006A, for attorney’s fees and other litigation expenses

arising out of the investigation or prosecution of this matter.

       19.   Defendant’s Breach of Plea Agreement.            If the defendant commits any crimes,

violates any conditions of release, or violates any term of this plea agreement between the signing

of this plea agreement and the date of sentencing, or fails to appear for sentencing, or if the

defendant provides information to the Probation Office or the Court that is intentionally

misleading, incomplete, or untruthful, or otherwise breaches this plea agreement, the United States

will be released from its obligations under this agreement.       The defendant, however, will remain

bound by the terms of the agreement, and will not be allowed to withdraw his plea.

       The defendant also understands and agrees that in the event he violates this plea agreement,

all statements made by him to law enforcement agents subsequent to the execution of this plea

agreement, any testimony given by him before a grand jury or any tribunal or any leads from such

statements or testimony shall be admissible against him in any and all criminal proceedings.     The

defendant waives any rights that he might assert under the United States Constitution, any statute,

Rule 11(f) of the Federal Rules of Criminal Procedure, Rule 410 of the Federal Rules of Evidence,

or any other federal rule that pertains to the admissibility of any statements made by him

subsequent to this plea agreement.

       20.   Defendant’s Representations.        The defendant acknowledges that he has entered

into this plea agreement freely and voluntarily after receiving the effective assistance, advice and

approval of counsel.    The defendant acknowledges that he is satisfied with the assistance of

counsel, and that counsel has fully advised him of his rights and obligations in connection with

this plea agreement.   The defendant further acknowledges that no threats or promises, other than


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the promises contained in this plea agreement, have been made by the United States, the Court, his

attorneys or any other party to induce him to enter his plea of guilty.

         21.   No Undisclosed Terms.     The United States and defendant acknowledge and agree

that the above-stated terms and conditions, together with any written supplemental agreement that

might be presented to the Court in camera, constitute the entire plea agreement between the parties,

and that any other terms and conditions not expressly set forth in this agreement or any written

supplemental agreement do not constitute any part of the parties’ agreement and will not be

enforceable against either party.

         22.   Standard of Interpretation.    The parties agree that the constitutional implications

inherent in plea agreements shall determine the interpretation and nature of its terms.

                                                      Timothy A. Garrison
                                                      United States Attorney

Dated:          3/21/18                               /s/Jeffrey Q. McCarther
                                                      Jeffrey Q. McCarther
                                                      Assistant United States Attorney
                                                      Narcotics & Violent Crimes Unit

        I have consulted with my attorney and fully understand all of my rights with respect to the
offenses charged in the Indictment. Further, I have consulted with my attorney and fully
understand my rights with respect to the provisions of the Sentencing Guidelines. I have read
this plea agreement and carefully reviewed every part of it with my attorney. I understand this
plea agreement and I voluntarily agree to it.

Dated:          3/21/18                               /s/Preston L. Gillam
                                                      Preston L. Gillam
                                                      Defendant

       I am defendant Preston L. Gillam’s attorney. I have fully explained to him his rights with
respect to the offenses charged in the Indictment. Further, I have reviewed with him the
provisions of the Sentencing Guidelines which might apply in this case. I have carefully
reviewed every part of this plea agreement with him. To my knowledge, Preston L. Gillam’s
decision to enter into this plea agreement is an informed and voluntary one.

Dated:          3/21/18                               /s/Terry J. Flanagan
                                                      Terry J. Flanagan
                                                      Attorney for Defendant Preston L. Gillam


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